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                                     UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF KENTUCKY
                                     NORTHERN DIVISION AT ASHLAND
                                        CASE NO.: 17-cv-00012-HRW

                                              ELECTRONICALLY FILED

JOSEPH ALMEIDA, by and through his Guardian,
MARY ANN ALMEIDA                                                                    PLAINTIFF

v.

GGNSC VANCEBURG, LLC d/b/a
GOLDEN LIVING CENTER – VANCEBURG;
GPH VANCEBURG, LLC;
GGNSC ADMINISTRATIVE SERVICES, LLC;
GGNSC CLINICAL SERVICES, LLC;
GOLDEN GATE NATIONAL SENIOR CARE, LLC;
GOLDEN GATE ANCILLARY, LLC;
JOY DINGESS, in her capacity as
Administrator of Golden Living Center – Vanceburg; and
John Does 1 through 5, Unknown Defendants                                           DEFENDANTS

                                        JOINT NOTICE OF SETTLEMENT

                                                        *** *** *** ***

          Comes now the Plaintiff, Joseph Almeida, by and through his Guardian, Mary Ann Almeida,

and the Defendants, GGNSC Vanceburg, LLC d/b/a Golden Living Center – Vanceburg; GPH

Vanceburg, LLC; GGNSC Administrative Services, LLC; GGNSC Clinical Services, LLC; Golden

Gate National Senior Care, LLC; Golden Gate Ancillary, LLC; and Joy Dingess, in her capacity as

Administrator of Golden Living Center – Vanceburg, hereby file this Notice of Settlement to advise

the Court that the parties have reached an agreement to resolve this case and are still working to

finalize paperwork and that we anticipate filing a dismissal by October 1, 2017. Once paperwork is

finalized, the parties will notify this Court and file an appropriate Agreed Motion to Dismiss, with

prejudice.




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                                                    Respectfully Submitted,

                                                    GARCIA, ARTIGLIERE, MEDBY & FAULKNER

                                                    /s/ Perry L. Greer, III__
                                                    Stephen M. Garcia
                                                    M. Brandon Faulkner
                                                    Perry L. Greer, III
                                                    444 East Main Street, Suite 108
                                                    Lexington, Kentucky 40507
                                                    Telephone:(502) 584-3805
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                                                            Counsel for Plaintiff


                                                    /s/ Nathaniel R. Kissel with permission____
                                                    Donald L. Miller, II, Esq.
                                                    J. Peter Cassidy, III, Esq.
                                                    Nathaniel R. Kissel, Esq.
                                                    Quintairos, Prieto, Wood & Boyer, P.A.
                                                    2452 Sir Barton Way, Suite 300
                                                    Lexington, KY 40509
                                                            Counsel for Defendants



                                             CERTIFICATE OF SERVICE

          I hereby certify that on June 29, 2017, I electronically filed the foregoing with the Clerk of

the Court by using the CM/ECF system. I additional certify that a true and accurate copy of the

foregoing was served via U.S. mail, first class, postage prepaid, on the 29th day of June, 2017, upon:

Donald L. Miller, II, Esq.
J. Peter Cassidy, III, Esq.
Nathaniel R. Kissel, Esq.
Quintairos, Prieto, Wood & Boyer, P.A.
2452 Sir Barton Way, Suite 300
Lexington, KY 40509
        Counsel for Defendants


                                                               /s/ Perry L. Greer, III__
                                                               Counsel for Plaintiff



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